      Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 1 of 13




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                        :
EBONY CHAMBERS, et al.,                 :
                                        :
                       Plaintiffs,      :
                                        :        Civil Action
                 v.                     :        No. 23-137
                                        :
CITY OF PHILADELPHIA, et al.,           :
                                        :
                       Defendants.      :
                                        :

  REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF THE CITY OF
 PHILADELPHIA, BLANCHE CARNEY, NANCY GIANETTA, EDWIN CRUZ, AND
     JESSICA BOWERS’S MOTIONS TO DISMISS PLAINTIFFS’ AMENDED
                           COMPLAINT


                                                        CITY OF PHILADELPHIA
                                                            LAW DEPARTMENT

                                            DANIELLE B. ROSENTHAL, ESQUIRE
                                                         Attorney ID No. 329676
                                                     1515 Arch Street, 14th Floor
                                                          Philadelphia, PA 19102
                                                               P: (215) 683-5448

                                                 Attorney for the City of Philadelphia,
                                                     Blanche Carney, and Edwin Cruz


                                                    MARSHALL DENNEHEY
                                               WARNER COLEMAN & GOGGIN

                                                  JOHN P. GONZALES, ESQUIRE
                                               JOSHUA W. BROWNLIE, ESQUIRE
                                                   Attorney ID Nos. 71265; 330511
                                                    2000 Market Street, Suite 2300
                                                            Philadelphia, PA 19103
                                                           P: (215) 575-2871/2658
                                                                 F: (215) 575-0856

                                            Attorneys for Nancy Giannetta and Jessica
                                                                              Bowers
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 2 of 13




       Pursuant to this Court’s Policies and Procedures, Defendants the City of Philadelphia (the

“City”), Blanche Carney, Nancy Gianetta, Edwin Cruz, and Jessica Bowers, by and through their

undersigned counsel, respectfully submit the following Joint Reply in further support of their

Motion to Dismiss Plaintiffs’ Amended Complaint for Failure to State a Claim.

I.     THE COURT SHOULD DISMISS PLAINTIFFS’ MONELL CLAIM.

       As explained at length in Defendants’ opening brief, Plaintiffs have failed to define the

alleged policy, practice, or custom with requisite specificity. See Br. at 5-8. To the extent that

Plaintiffs suggest that precedent does not require Plaintiffs “to identify a [specific] custom, policy,

or practice to survive a motion to dismiss,” Opp. Br. at 7, they are wrong. See, e.g., Harper v. Cty.

of Del., 779 Fed. App’x 143, 147 (3d Cir. 2019 (affirming dismissal to the lack of identification

of “any specific policies”); Wood v. Williams, 568 Fed. App’x 100, 104 (3d Cir. 2014) (affirming

dismissal of “Monell claim because [the plaintiff’s] complaint failed to identify any unlawful

policy or custom and failed to identify any policymaker or decisionmaker responsible for the

unlawful conduct alleged”); Villarreal v. New Jersey, 803 Fed. App’x 583, 588 (3d Cir. 2020)

(“Villarreals failed to identify any specific policy, procedure, or custom of the Board of

Freeholders to support a § 1983 claim against a local government . . . .”).

       Further, to the extent that Plaintiffs incorrectly insist that courts have endorsed “similarly

capacious customs, policies, or practices,” Opp. Br. at 4, Plaintiffs fail to cite even a single case

where a similar alleged custom of failing to respond adequately to any medical emergency, no

matter the type or reason, has passed muster at the motion to dismiss stage after thorough

consideration.1 Indeed, courts have repeatedly held that policies and practices far more similar than


1
  Instead, Plaintiffs focus on entirely inapposite authority, such as the Supreme Court’s decision
in Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658 (1978), which involved a
specific facially unconstitutional policy bearing no resemblance to the instant case. See Opp. Br.
at 4. Further, despite criticizing Defendants for citing cases adjudicating motions for summary

                                                  1
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 3 of 13




those in Plaintiffs’ cited case examples are insufficient specific to survive a motion to dismiss. See,

e.g., Buoniconti v. City of Phila., 148 F. Supp. 3d 425, 436 (E.D. Pa. 2015) (holding that allegations

of “failure to provide sufficient emergency medical care,” constituted “‘vague assertions’ of policy

or custom,” which were “not sufficient to impose liability”); Arita v. Wexford Health Sources, Inc.,

No. 15-cv-01173, 2016 WL 6432578, at *3 (N.D. Ill. Oct. 31, 2016) (“Nor does Arita’s complaint

shed any light on what Wexford’s alleged policy might be— that is, what specific policy might

lead to the systematic disregard of inmates’ medical needs.”).

       Further, the only precedential case on which Plaintiff rely for the incorrect proposition that

“there is no mandate that Plaintiff identify a custom, policy, or practice to survive a motion to

dismiss,” Opp. Br. at 7, is Carter v. City of Philadelphia, 181 F.3d 339, 357-58 (3d Cir. 1999),

which predates the Supreme Court’s decisions in Twombly and Iqbal. Although Plaintiffs also cite

to Kenney v. Montgomery County, Opp Br. at 7, Judge DuBois explained that the Kenney plaintiff

did allege an underlying policy aside from a nebulous general denial of medical care. No. 13-cv-

2590, 2013 WL 5356862, at *7 (E.D. Pa. Sept. 25, 2013) (noting specific factual allegations

underlying alleged policy of denying medical care for cost-savings reasons). And in doing so,

Judge DuBois noted that Plaintiffs just “barely” crossed the requisite pleading threshold, id.

(internal quotation marks omitted), which Plaintiffs fail to do here.2



judgment, even where appropriate, Plaintiffs rely at length on cases with entirely different
procedural postures even where Defendants’ criticisms focus on the specificity of the allegations
required at the motion to dismiss stage. See Opp. Br. at 4-5 (discussing Beck v. City of Pittsburgh,
89 F.3d 966 (3d Cir. 1996) & Bielevicz v. Dubinon, 915 F.2d 845 (3d Cir. 1990)).
2
  Indeed, Judge DuBois repeatedly reaffirmed in subsequent cases that a plaintiff must identify a
specific custom, policy, or practice at the pleading stage. See, e.g., Seagraves v. Phila. Police
Dep’t, No. 16-cv-1219, 2016 WL 2735679, at *3 (E.D. Pa. May 11, 2016); Thomas v. City of
Chester, No. 15-cv-3955, 2016 WL 1106900, at *4 (E.D. Pa. Mar. 21, 2016). Plaintiffs’ other
citations are similarly unavailing. For instance, Plaintiffs’ selectively excerpted quotation from
Moore v. Ryan, Opp. Br. at 7, is immediately followed by the recognition that a plaintiff must
provide “some specificity as to the custom, policy, or procedure which caused the plaintiff’s

                                                  2
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 4 of 13




       Just as misguided is Plaintiffs’ notion that specific training, supervisory, and disciplinary

deficiencies need not be alleged. See Opp. Br. at 11. Any suggestion otherwise is again inconsistent

with precedent. See, e.g., Palakovic v. Wetzel, 854 F.3d 209, 233 (3d Cir. 2017) (“Similar to the

policy claim, a failure to train claim requires a plaintiff to ‘identify a failure to provide specific

training that has a causal nexus with his or her injury and must demonstrate that the failure to

provide that specific training can reasonably be said to reflect a deliberate indifference to whether

constitutional deprivations of the kind alleged occur.’” (quoting Colburn v. Upper Darby Twp.,

946 F.2d 1017, 1030 (3d Cir. 1991))); Blacknall v. Citarella, 168 Fed. App’x 489, 492 (3d Cir.

2006) (citing cases).

       In attempting to explain away Defendants’ abundant authority,3 Plaintiffs erroneously

focus on the fact that two cases cited by Defendants in their briefing, Reitz v. Cty. of Bucks, 125

F.3d 139 (3d. Cir 1997) and Brown v. Muhlenberg Twp., 269 F.3d 205, 2015 (3d Cir. 2001) arose

in the context of motions for summary judgment. See Opp. Br. at 11-12. This is a red herring, as

Defendants opening brief specifically noted another court’s citation to these cases in ruling on a

motion to dismiss. See Br. at 7. Countless other courts,4 including the U.S. of Appeals for the Third


injuries.” No. 12-cv-1875, 2013 WL 1339053, at *7 (M.D. Pa. Apr. 1, 2013). And in Peet v. Beard,
see Opp. Br. at 7, the plaintiffs alleged a far more specific policy, practice, or custom than that of
general deliberate indifference to all emergent medical needs: “fail[ing] to have an adequate
protocol in place to protect inmates who suffer from epileptic seizures.” No. 10-cv-482, 2011 WL
718723, at *7 (M.D. Pa. Jan. 25, 2011), report and recommendation adopted, No. 10-cv-482, 2011
WL 720192 (M.D. Pa. Feb. 22, 2011).
3
  Further, Plaintiffs’ assertion buried in a footnote that “[c]uriously, two of the cases the City cites
actually undermine its argument — and support Plaintiff[],” Opp. Br. at 6 n.3, is specious, as
Plaintiffs blow past the legal propositions for which these cases are cited. That the allegations in
those cases were sufficient to state a claim — for instance, the allegations in Moore v. Ryan, No.
12-cv-1875, 2013 WL 1339053, at *7 (M.D. Pa. Apr. 1, 2013) that identified a specific training
deficiency (the failure to “adequately train officers regarding the proper use of police dogs”) —
says nothing about the propriety of Plaintiffs’ allegations in this case, which are not.
4
  See, e.g., Harriell v. Cuzzupe, No. 12-cv-0604, 2023 WL 2583468, at *3 (D.N.J. Mar. 21, 2023);
McLaughlin v. Cunningham, No. 13-cv-01926, 2014 WL 1225935, at *11 (E.D. Pa. Mar. 25,

                                                   3
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 5 of 13




Circuit, similarly have applied these cases’ holdings to Rule 12(b)(6) motions. See, e.g., Hatfield

v. Berube, 714 Fed. App’x 99 (3d Cir. 2017).

       Rather than focus on substantively distinguishing Defendants’ cases in a meaningful

manner, Plaintiffs rely on cases involving entirely different and far more specific allegations. For

instance, Plaintiffs place undue emphasis on Judge Ambro’s opinion in Estate of Roman v. City of

Newark, 914 F.3d 789 (3d Cir. 2019). Critical to the Roman court’s decision was a seventy-eight

page highly detailed consent decree, properly considered as integral to the allegations in the

complaint. Id. at 797-98; see also Exhibit A (consent decree). Unlike here, that consent decree

addressed patterns of misconduct closely paralleling the violations alleged in that plaintiff’s case

as well as spoke to the specific alleged deficiencies and required reforms, such as in the areas of

training and supervision. Id. at 99 (explaining that the consent decree “cover[ed] the same type of

conduct [the plaintiff] allege[d]” and addressed particular training, supervision, and discipline

deficiencies). Roman thus has no application here. Further, despite Plaintiffs’ contention to the

contrary, Opp. Br. at 6, Roman hardly sub silentio overruled earlier appellate precedent addressing

far less detailed Monell allegations — nor could it absent an en banc decision by the entire court.

       Finally, that Plaintiffs cite a five-page interim partial settlement agreement in the Remick

v. City of Philadelphia litigation, which includes no detailed deficiencies or defects in training,

supervision or discipline, does not at all make the two cases analogous. See, e.g., Opp. Br. at 9. As

an initial matter, Plaintiffs mischaracterize the agreement in framing it as geared towards correctly

general deficiencies in medical care and in responding to medical emergencies.5 As the settlement


2014); Joobeen v. City of Phila. Police Dep’t, No. 09-cv-1376, 2010 WL 844587, at *4 (E.D. Pa.
Mar. 4, 2010); Mathews v. Abington Heights Sch. Dist., No. 22-cv-00959, 2023 WL 2601917, at
*9 (M.D. Pa. Mar. 22, 2023).
5
  For purposes of Plaintiff’s supervisory liability claims, it also bears noting that Commissioner
Carney was not a party to the agreement, as she was sued in her official capacity.


                                                 4
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 6 of 13




agreement clearly states, its intention was to “reduce the introduction and transmission of COVID-

19 in its facilities, the PDP’s commitment to continue these practices, as well as

recommendations for COVID-19 mitigation made by Plaintiffs’ counsel.” Exhibit B (Consent

Order on Partial Settlement Agreement) at 2. Further, the text of the agreement made clear that the

provisions were not intended to identify deficiencies but rather “reflect[ed] the current protocols

at PDP,” and thus codified what was already in place. See id. (emphasis added). This was true too

of the provisions related to medical care, which were plainly geared towards addressing the

location of services during the unprecedented COVID-19 pandemic rather than suggestive of a

custom of ignoring emergent medical needs. See id. ¶ I(A)(4) (“Continuing to ensure access to

necessary services . . . .”). Reliance on this agreement to compensate for absent allegations fails.

       A.      Plaintiffs Have Failed To Allege Similar Incidents To Establish the Existence
               of a Causally Connected Widespread Unconstitutional Custom.

       For the reasons set forth in Defendants’ opening brief, Plaintiffs have failed to allege

sufficiently similar and numerous incidents from which one could plausibly infer the existence of

a specific custom causally connected to the alleged violation at issue or one that put policymakers

on notice of any deficiency of a likely violation of Mr. Chambers’s constitutional rights.

       In once again relying heavily on Estate of Roman v. City of Newark, 914 F.3d 789, which

involved plausible allegations of highly discrete systemic failures, obviating the need for similar

case examples from which to plausibly infer an unlawful custom, Plaintiffs entirely ignore the lack

of any apparent relationship between Mr. Chambers’s case and the other incidents they cite. These

incidents fail to provide any hook from which it is possible to infer a common policy or practice

that could be the direct cause or moving force behind such disparate failures. City of Okla. City v.

Tuttle, 471 U.S. 808, 814 (1985); see also, e.g., Postie v. Frederick, No. 14-cv-00317, 2015 WL

7428616, at *4 (M.D. Pa. Nov. 23, 2015) (“Postie fails to explain how these four



                                                 5
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 7 of 13




lawsuits are “similar” to his own case for the purpose of imputing a pattern of violations.”);

Carmody v. Ensminger, No. 16-cv-02603, 2017 WL 4150601, at *5 (D. Colo. Sept. 19, 2017)

(“Plaintiff identifies numerous incidents where she alleges prison officials and CCS Defendants

have previously failed to provide medical care to inmates with serious medical needs, but there is

no apparent relationship between these incidents from which it is possible to infer a common policy

or practice that could be the “’direct cause’ or ‘moving force’ behind such disparate failures to

provide medical care.”).

        Plaintiffs also incorrectly suggest that case law does not require a high degree of similarity

in making out a Monell claim. In Connick v. Thompson, 563 U.S. 51 (2011), for instance, the U.S.

Supreme Court considered a § 1983 claim brought by a plaintiff who was wrongfully imprisoned

for eighteen years after a district attorney’s office failed to disclose exculpatory evidence in

compliance with its Brady obligation.6 In seeking to hold the relevant policymaker liable for the

district attorney’s conduct, the plaintiff alleged that the policymaker “failed to train his prosecutors

adequately about their duty to produce exculpatory evidence.” Id. at 54. Although the plaintiff

pointed to four judicially confirmed previous Brady violations to show that policymakers were on

notice of the need for more training, the U.S. Supreme Court held that these prior violations were

too dissimilar to the incident at issue, as “[n]one of those cases [similarly] involved failure to

disclose blood evidence, a crime lab report, or physical or scientific evidence of any kind.” Id. at

62–63. Accordingly, they “could not have put [the policymaker] on notice that the office’s Brady

training was inadequate with respect to the sort of Brady violation at issue [t]here.” Id. at 62.


6
  To the extent that Plaintiffs may seek to argue that Connick did not reach the Supreme Court in
the context of a motion to dismiss, that is a distinction without a difference. Courts routinely cite
Connick and other such precedent in Rule 12(b)(6) decisions. See, e.g., Johnson v. City of
Philadelphia, 975 F.3d 394, 403 (3d Cir. 2020); Haberle v. Troxell, 885 F.3d 170, 182 (3d Cir.
2018); Owens v. Coleman, 629 Fed. App’x 163, 167 (3d Cir. 2015).


                                                   6
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 8 of 13




        Similarly, here, Plaintiffs’ alleged incidents do not conform to any systemic pattern from

which it is possible to infer any underlying policy or practice is the cause. For example, there is

no apparent connection between an inmate who was harmed by the absence of guards to respond

to an emergency call button and the allegation that Mr. Chambers did not receive necessary care

because prison officials specifically ignored requests that he be taken to the infirmary. Plaintiffs’

claim thus is, in effect, an assertion that all failures to provide adequate medical care, to those with

emergent needs, no matter the differences in circumstances, result from a common policy or

practice. But such allegations do little more than restate the elements of a deliberate indifference

policy claim and provide no basis to attribute causation in any particular incident. See, e.g., Terry

v. Cty. of Milwaukee, No. 17-cv-1112, 2018 WL 2567721, at *7 (E.D. Wis. June 4, 2018); Burns

v. Rensselaer Cnty., No. 19-cv-00701, 2021 WL 1091558, at *8 (N.D.N.Y. Mar. 22, 2021);

Sanchez v. N.Y. Correct Care Sols. Med. Servs., P.C., No. 16-cv-6826, 2018 WL 6510759, at *11

(W.D.N.Y. Dec. 11, 2018). Accordingly, these allegations are insufficient.

        B.      Plaintiffs Have Not Alleged Deliberate Indifference on the Part of a Final City
                Policymaker.

        In attempting to distract Defendants’ well supported argument that Plaintiffs have failed to

allege deliberate indifference on the part of a final city policymaker, Plaintiffs first erroneously

spill much ink on whether the “deliberate indifference” standard, Opp. Br. at 19, applies to a

Monell claim predicated on an allegedly unconstitutional custom. First, in discussing Forrest v.

Parry, 930 F.3d 93 (3d Cir. 2019), Plaintiffs gloss over the that Parry’s cited language applies

where there is an alleged policy or custom predicated on a municipality’s affirmative act, id. at

106, of which Plaintiffs have alleged none. Here, every iteration of Plaintiffs’ Monell claim is

premised on failures to take actions to ensure medical needs are met. See, e.g., Am. Compl. ¶¶ 141-

43. Accordingly, the quoted Parry language is irrelevant to Plaintiffs’ articulated Monell claim.



                                                   7
         Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 9 of 13




       Moreover, even if Plaintiffs were not required to allege deliberate indifference under a

straightforward unconstitutional custom theory,7 Plaintiffs have woefully failed to allege “a given

course of conduct so well-settled and permanent as to virtually constitute law.”8 Parry, 930 F.3d

at 106. Although Defendants submit that Plaintiffs have not alleged sufficient facts to allege a

single other similar violation of an incarcerated individual’s constitutional rights, it is hardly

plausible that the City’s fails to respond to medical emergencies of its entire inmate population is

“so well-settled and permanent as to virtually constitute law.” Id. Indeed, Plaintiffs refuse to even

address Defendants’ argument that Plaintiff have failed to allege sufficiently numerous incidents

to constitute a custom. See Opp. Br. at 17 n.13. Accordingly, this argument is waived.9 See Markert

v. PNC Fin. Servs. Grp., Inc., 828 F. Supp. 2d 765, 773 (E.D. Pa. 2011).

       Finally, in spending significant briefing discussing whether subsequent conduct can be

relevant to a Monell claim, Plaintiffs conflate various theories and confuse the purpose for which



7
  Further, deliberate indifference would still be required under any “failure to” theory, such as a
failure to train, supervise, or discipline. As Plaintiffs fail to meet the pleading standards with
respect to any of these theories, they should at minimum be dismissed, even if the Court disagrees
with Defendants and holds that an unconstitutional custom theory should survive. See, e.g.,
Clayton v. City of Newark, No. 11-cv-289, 2021 WL 6062342, at *1 (D.N.J. Dec. 22, 2021)
(“prun[ing] back the complaint by dismissing as facially deficient certain Monell sub-theories”).
8
  Rather than meaningfully engaged with Defendants’ cited case law, Plaintiffs attempt to distract
from their lack of well pled allegations by focusing on the fact that one Defendants’ cited cases,
Subher v. City of Phila., No. 22-cv-0601, 2022 WL 17573402 (E.D. Pa. Dec. 9, 2022), involved a
common individual defendant. See Opp. Br. at 18. Not only are such allegations irrelevant to
Plaintiffs’ Monell claim, but their assertion that “[t]he Court can, and should, consider th[ese
additional allegations],” Opp. Br. at 18, is squarely foreclosed by precedent. See Com. of Pa., ex
rel. Zimmerman v. PepsiCo., Inc., 836 F.2d 173, 181 (3d Cir. 1988); see also S. Cross Overseas
Agencies, Inc. v. Wah Kwong Shipping Grp. Ltd., 181 F.3d 410, 426 (3d Cir. 1999).
9
  Plaintiffs’ characterization of Defendants’ briefing as conceding the irrelevance of the number
of cited incidents is disingenuous and should be disregarded. See Opp. Br. at 17 n.13. It is illogical
that Defendants would have spent over half a page of briefing citing cases exclusively addressing
the requisite number of alleged similar incidents had this in fact been Defendants’ position. See
Br. at 10-11. Indeed, the mere fact that Plaintiffs felt the need to address this supposed “implicit
concession” suggests that Plaintiffs very well understood this issue to be at play.


                                                  8
        Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 10 of 13




such evidence can be considered. Although courts have in certain cases considered such evidence

in determining the existence of an unconstitutional custom, post-incident conduct cannot be

considered for purposes of establishing deliberate indifference — i.e., that policymakers were on

notice of a particular deficiency (such as a failure to train, discipline, or supervise) likely to result

in a violation of constitutional rights. See, e.g., Sallie v. Lynk, No. 10-cv-456, 2012 WL 995245,

at *10 (W.D. Pa. Mar. 23, 2012),

II.     THE COURT SHOULD DISMISS PLAINTIFFS’ SUPERVISORY CLAIMS.

        In failing to counter Plaintiffs’ well supported arguments for dismissal of the supervisory-

liability claims against the moving defendants, Plaintiffs first disregard the pleading standards,

pointing to “the essential role of fact discovery.” Opp. Br. at 22. But any assertion that the

sufficiency of allegations for supervisory-liability claims cannot be decided at the pleadings stage

is squarely foreclosed by Ashcroft v. Iqbal, 556 U.S. 662 (2009). Indeed, the Iqbal Court strongly

cautioned courts to address the sufficiency of allegations at the outset of a case, particularly where

the complaint alleges “threadbare recitals” and “mere conclusory statements.” Id. at 678. It further

noted this is particularly important in cases against governmental officials, as “[l]itigation, though

necessary to ensure that officials comply with the law, exacts heavy costs in terms of efficiency

and expenditure of valuable [governmental] time and resources.” Id. at 686.

        Plaintiffs also entirely miss the mark in spending pages of briefing focusing on the

uncontroverted proposition that a supervisory defendant conceivably can be held liable if they

personally participated in promulgating and enforcing an unconstitutional policy or practice that

caused the violation at issue. See Opp. Br. 23-27. Defendants do not contend otherwise.10 Rather,


10
   For this reason, Plaintiffs’ cases that fail to address the requirement of non-conclusory
allegations at the pleading stage are inapposite to the analysis. Further, to the extent that the U.S.
Court of Appeals for the Third Circuit stated in its overturned decision in Barkes v. First
Correctional Medical, Inc., 766 F.3d 307, 320 (3d Cir. 2014), judgment rev’d sub nom. Taylor v.

                                                   9
        Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 11 of 13




they contend that such allegations may not be merely conclusory and group-like, resting simply

on a failure to take unspecified action by virtue of their titles and presumed roles. In fact, Plaintiffs’

own cases illustrate this point. For instance, although Plaintiffs cite Argueta v. U.S. Immigration

& Customs Enforcement, 643 F.3d 60, 72 (3d Cir. 2011), for the proposition that “[i]t

is . . . possible to establish section 1983 supervisory liability by showing a supervisor tolerated

past or ongoing misbehavior,” id. at 72 (internal quotation marks omitted), Plaintiffs do not discuss

the remainder of the case affirming dismissal on the ground that “pleading contained boilerplate

allegations mimicking the purported legal standards for liability, which [the court could] not

assume to be true,” id. at 74; see also id. at 75 (agreeing “with [the defendants’] assertion that

Plaintiffs themselves did not really identify in their pleading what exactly Appellants should have

done differently”). The same applies in this case.

        Just as in Argueta, in asserting that they have alleged non-conclusory allegations as to each

individual defendant’s involvement and liability, Plaintiffs simply regurgitate their conclusory

allegations regarding general awareness of prior incidents, deliberate indifference, general

policymaking authority, and unspecified group failures to train, supervise, and discipline. See, e.g.,

Opp. Br. at 26-29. It is precisely these boilerplate types of group-like assertions that have been

rejected by the courts.



Date: April 10, 2023                            Respectfully submitted,



 CITY OF PHILADELPHIA                                 MARSHALL DENNEHEY WARNER
 LAW DEPARTMENT                                       COLEMAN & GOGGIN


Barkes, 575 U.S. 822 (2015), that the “the standard we announced in Sample . . . is consistent
with Iqbal,” it was not referencing Iqbal’s holding with respect to requiring non-conclusory factual
allegations, as Sample was not decided on a motion to dismiss. Id. at 320.


                                                   10
      Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 12 of 13




By: /s/ Danielle B. Rosenthal                 By: /s/ Joshua W. Brownlie________
DANIELLE B. ROSENTHAL, ESQ.                   JOHN P. GONZALES, ESQUIRE
Deputy City Solicitor                         JOSHUA W. BROWNLIE, ESQUIRE
Attorney ID No. 329676                        Attorney ID Nos. 71265; 330511
1515 Arch Street, 14th Floor                  2000 Market Street, Suite 2300
Philadelphia, PA 19102                        Philadelphia, PA 19103
P: (215) 683-5448                             P: (215) 575-2816

Attorney for the City of Philadelphia, Blanche Attorneys for Nancy Giannetta and Jessica
Carney, Nancy Gianetta, and Edwin Cruz         Bowers




                                            11
       Case 2:23-cv-00137-KNS Document 27 Filed 04/10/23 Page 13 of 13




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
EBONY CHAMBERS, et al.,                            :
                                                   :
                             Plaintiffs,           :
                                                   :      Civil Action
                       v.                          :      No. 23-137
                                                   :
CITY OF PHILADELPHIA, et al.,                      :
                                                   :
                             Defendants.           :
                                                   :

                               CERTIFICATE OF SERVICE

       I certify that on this date, a true and correct copy of the foregoing Reply Memorandum of

Law in Further Support of the City of Philadelphia, Blanche Carney, Nancy Gianetta, Edwin Cruz,

and Jessica Bowers’s Motion to Dismiss Plaintiffs’ Amended Complaint for Failure to State a

Claim was filed via the Court’s electronic filing system and is available for viewing and

downloading.



Date: April 10, 2023                                   Respectfully submitted,

                                                        /s/ Danielle B. Rosenthal
                                                       Danielle B. Rosenthal
                                                       Deputy City Solicitor
                                                       PA Bar No. 329676
                                                       City of Philadelphia Law Department
                                                       1515 Arch Street, 14th Floor
                                                       Philadelphia, PA 19102
                                                       (215) 683-5448
                                                       danielle.rosenthal@phila.gov
